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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                              :        CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC, :                           BANKRUPTCY NO. 22-10609 (AMC)

                          Debtor.                   :


                      ORDER SUSTAINING DEBTOR’S OBJECTION
                             TO PROOF OF CLAIM NO. 19
                 FILED BY ANI & JOE ABATEMENT & DEMOLITION LLC

         AND NOW, upon consideration of the Objection (the “Objection”) of Scungio Borst &

Associates, LLC to Proof of Claim No. 19 filed by Ani & Joe Abatement & Demolition LLC (the

“Proof of Claim”), and after notice and hearing; it is hereby ORDERED, that:

         1.      The Objection is SUSTAINED.

         2.      The Proof of Claim is hereby reclassified as a general unsecured claim in the

amount of $110,000, subject to a full reservation of rights in favor the Debtor, Debtor’s estate

and/or the SBA Plan Trust1 including, but not limited to, the right to file (i) additional objections

to the Proof of Claim for any reason and on any grounds, and (ii) objections to any claims or

interests filed against or scheduled by the Debtor, but not objected to in this Objection.



                                                    BY THE COURT:


Dated:_____________
                                                    ASHELY M. CHAN,
                                                    UNITED STATES BANKRUPTCY JUDGE




1 The trust to be established pursuant to the confirmed Modified Joint Plan of Liquidation (with technical
modifications) proposed by Scungio Borst & Associates, LLC, Debtor-in-Possession, and the Official Committee of
Unsecured Creditors of the Estate of Debtor [D.1.326], as same may be amended, supplemented or otherwise modified
from time to time pursuant to section 1127 of the Bankruptcy Code.
